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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  CHANNELL OSORIO,

                        Plaintiff,
                                                      Civil Action No. 2:25-CV-00552-KBH
                v.

  TRANS UNION, LLC; EXPERIAN
  INFORMATION SOLUTIONS, INC.; EQUIFAX
  INFORMATION SERVICES, LLC; BARCLAYS
  BANK DELAWARE; CITIBANK, N.A.;
  CITIZENS BANK; and FIRSTMARK SERVICES;

                        Defendants.

                               SUBSTITUTION OF ATTORNEY

        PLEASE TAKE NOTICE that the undersigned, JAYME C. BRONSON of Buchanan

 Ingersoll & Rooney PC, shall appear as counsel on behalf of Defendant Trans Union, LLC, by

 way of substitution for Graeme E. Hogan, who should be removed as counsel for Defendant Trans

 Union, LLC.



Withdrawing Attorney:                         Substituting Attorney:

BUCHANAN INGERSOLL & ROONEY PC                BUCHANAN INGERSOLL & ROONEY PC

By: /s/ Graeme E. Hogan                       By: /s/ Jayme C. Bronson
       Graeme E. Hogan                            Jayme C. Bronson
       (PA ID No. 319656)                         (PA ID No. 325481)
                                                  Two Liberty Place
                                                  16th Street, Suite 3200
                                                  Philadelphia, PA 19102
                                                  (215) 665-8700
                                                   jayme.bronson@bipc.com

                                                   Attorney for Defendant TransUnion

Date: June 13, 2025                           Date: June 13, 2025
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of June, 2025, I caused a true and correct copy of the

foregoing document to be served electronically via the Court’s CM/ECF system.


                                                            /s/ Jayme C. Bronson
                                                              Jayme C. Bronson
